                   IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

DOMINION HEALTHCARE SERVICES, INC. )
                                                )
                       Plaintiff,               )
                                                )
v.                                              )
                                                )
                                                )
VALUE OPTIONS, INC., JANE HARRIS,               )
Individually, THE DURHAM CENTER (Local )
Management Entity), ELLEN HOLLIMAN,             ) Civil Action No. 1:08-cv-134
Individually and in her official capacity, WAKE )
COUNTY HUMAN SERVICES (Local                    )
Management Entity), CRYSTAL FARROW,             )
Individually and in her official capacity, FIVE )
COUNTY, (Local Management Entity), FOSTER )
NORMAN, Individually and in his official        )
capacity, MECKLENBERG COUNTY (Local             )
Management Entity), and GRAYCE CROCKETT,)
Individually and in her official capacity,      )

               MOTION TO DISMISS AND ANSWER OF
        WAKE COUNTY HUMAN SERVICES AND CRYSTAL FARROW

       NOW COME defendants, Wake County Human Services and Crystal Farrow,

individually and in her official capacity, and in answering the complaint of the plaintiff,

says as follows:

                                     FIRST DEFENSE

       For and as a First Defense, defendants move the court to dismiss this action in that

plaintiff’s complaint fails to state claims against Wake County Human Service and

Crystal Farrow in either her official or individual capacity upon which relief can be

granted and should be dismissed pursuant to Fed.R.Civ.P. 12(b)(6).




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                              SECOND DEFENSE AND ANSWER

        For and as a second defense, and without waiving the above defenses or any other

defense at law, the defendants answer the chronologically corresponding numbered

paragraphs of the complaint (including plaintiff’s headings for clarification only), and say

as follows:

   1.         Admitted upon information and belief.

   2.         Admitted upon information and belief.

   3.         Admitted upon information and belief.

   4.         It is denied that the Durham Center LME is organized under and pursuant to

              N.C.G.S. §122C-115.4. The remaining allegations of Paragraph 4 of the

              complaint are admitted upon information and belief.

   5.         These answering defendants are without information or knowledge sufficient

              upon which to form a belief as to the true or falsity of the allegations of

              paragraph 5 and the same are thereby denied.

   6.         It is denied that the Wake County Human Services LME is organized under

              and pursuant to N.C.G.S. §122C-115.4. The remaining allegations of

              Paragraph 6 of the complaint are admitted.

   7.         Admitted.

   8.         It is denied that Five County LME is organized under and pursuant to

              N.C.G.S. §122C-155.4. The remaining allegations of Paragraph 8 of the

              complaint are admitted upon information and belief.




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9.       These answering defendants are without information or knowledge sufficient

         upon which to form a belief as to the true or falsity of the allegations of

         paragraph 9 and the same are thereby denied.

10.      It is denied that Mecklenberg County LME is organized under and pursuant to

         N.C.G.S. §122C-115.4. The remaining allegations of Paragraph 10 of the

         complaint are admitted upon information and belief.

11.      These answering defendants are without information or knowledge sufficient

         upon which to form a belief as to the true or falsity of the allegations of

         paragraph 11 and the same are thereby denied.

12.      Admitted upon information and belief.

13.      Denied.

14.      Denied for lack of information or knowledge.

15.      Denied for lack of information or knowledge.

16.      Denied for lack of information or knowledge.

17.      Denied for lack of information or knowledge.

                                            COUNT I

      VIOLATION OF UNFAIR AND DECEPTIVE TRADE PRACTICES [CLAIM]

      As to the allegations of the unnumbered sentence appearing under this heading

      these defendants re-allege their responses to paragraphs 1-17 above as if fully set

      forth in response to said sentence.


18.      Denied for lack of information or knowledge.

19.      Denied for lack of information or knowledge.

20.      Denied for lack of information or knowledge.



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 21.      Denied for lack of information or knowledge.

 22.      Denied for lack of information or knowledge.

 23.      Denied for lack of information or knowledge.

                                         COUNT II

                    BREACH OF IMPLIED CONTRACT [CLAIM]

       As to the unnumbered sentence re-alleging plaintiff’s previous paragraphs

       appearing under this heading these defendants re-allege their responses to

       paragraphs 1-23 above as if fully set forth in response to said sentence.

 24.      Denied for lack of information or knowledge.

 25.      Denied for lack of information or knowledge.

 26.      Denied for lack of information or knowledge.

 27.      Denied for lack of information or knowledge.

 28.      Denied for lack of information or knowledge.

 29.      Denied for lack of information or knowledge.

 30.      Denied for lack of information or knowledge.

                                         COUNT III

BREACH OF THE COVENANT OF GOOD FAITH AND FAIR DEALING [CLAIM]

       As to the unnumbered sentence re-alleging plaintiff’s previous paragraphs

       appearing under this heading these defendants re-allege their responses to

       paragraphs 1-30 above as if fully set forth in response to said sentence.

 31.      Denied for lack of information or knowledge.

 32.      Denied for lack of information or knowledge.

 33.      Denied for lack of information or knowledge.




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34.       Denied for lack of information or knowledge.

35.       Denied for lack of information or knowledge.

36.       Denied for lack of information or knowledge.

                                         COUNT IV

                     VIOLATION OF 42 U.S.C. § 1983 [CLAIM]

      As to the unnumbered sentence re-alleging plaintiff’s previous paragraphs

      appearing under this heading these defendants re-allege their responses to

      paragraphs 1-17 above as if fully set forth in response to said sentence.

37.       Denied.

38.       Denied.

39.       Denied.

                                VIII. PRAYER FOR RELIEF

      WHEREFORE, the defendants Wake County Human Services and Crystal

Farrow, having fully answered the complaint of the plaintiff, prays for the following

relief:

          a.          That the complaint be dismissed;

          b.          That the plaintiff have and recover nothing by way of this

                      complaint;

          c.          That the costs of this action be taxed to the plaintiff;

          d.          For such other and further relief as to the court may seem just and

                      proper.

               Respectfully submitted this the 11th day of March 2008.




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                                ATTORNEYS FOR WAKE COUNTY
                                HUMAN SERVICES AND CRYSTAL
                                FARROW

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capacity, MECKLENBERG COUNTY (Local             )
Management Entity), and GRAYCE CROCKETT,)
Individually and in her official capacity,      )

                     CERTIFICATE OF SERVICE VIA U.S. MAIL

        I hereby certify that on 11th March 2008, I electronically filed the foregoing
Motion to Dismiss and Answer with the Clerk of Court using the CM/ECF system.
        And, I hereby further certify that the foregoing document has been served upon all
counsel pursuant to Rule 5 of the Federal Rules of Civil Procedure by depositing a copy
in the care and custody of the United States Postal Service with proper postage affixed
thereon this 11th day of March, 2008.


SERVED UPON:


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(Via U.S. Mail)



                                       This the 11th day of March 2008.

                                       ATTORNEYS FOR WAKE COUNTY
                                       HUMAN SERVICES AND CRYSTAL
                                       FARROW

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